Case 3:16-md-02738-MAS-RLS Document 33061 Filed 08/05/24 Page 1 of 20 PageID: 226592




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY




                                                Case No. 3:16-md-2738 (MAS)/(RLS)

     IN RE: JOHNSON & JOHNSON TALCUM                     MDL Case No. 2738
     POWDER PRODUCTS MARKETING,
     SALES PRACTICES AND PRODUCTS                   [FILED ELECTRONICALLY]
     LIABILITY LITIGATION
                                                     Return Date: August 19, 2024




        NON-PARTY BEASLEY ALLEN’S BRIEF IN OPPOSITION TO JOHNSON &
        JOHNSON’S MOTION OBJECTING TO SPECIAL MASTER ORDER NO. 25
      QUASHING AND/OR ISSUING A PROTECTIVE ORDER OVER THE SUBPOENA
                  ISSUED TO THE BEASLEY ALLEN LAW FIRM


                               FOX ROTHSCHILD LLP
                       Formed in the Commonwealth of Pennsylvania
                                  Jeffrey M. Pollock, Esq.
                                   Michael W. Sabo, Esq.
                                     212 Carnegie Center
                                          Suite 400
                                Princeton, New Jersey 08540
                       Attorneys for Andy Birchfield and Beasley Allen
Case 3:16-md-02738-MAS-RLS Document 33061 Filed 08/05/24 Page 2 of 20 PageID: 226593




                                                       TABLE OF CONTENTS

    PRELIMINARY STATEMENT .................................................................................................... 1

    RELEVANT FACTS AND PROCEDURAL HISTORY .............................................................. 2

              A.         J&J Weaponizes the Court System to Attack and Smear Its Successful
                         Litigation Opponent Beasley Allen. ....................................................................... 2

              B.         Beasley Allen Fights Back Against J&J’s Abusive Subpoena. .............................. 3

              C.         The Special Master Quashes the Abusive Subpoena. ............................................. 4

    ARGUMENT .................................................................................................................................. 6

    J&J’S SUBPOENA DIRECTED TO NON-PARTY BEASLEY ALLEN (ITS LITIGATION
    ADVERSARY IN THIS CASE) MUST BE QUASHED. ............................................................. 6

              A.         Legal Standard. ....................................................................................................... 6

              B.         The Special Master’s Order and Opinion Correctly Applied the Law to the
                         Facts and Should Be Affirmed. ............................................................................... 6

                         1.         J&J’s Objection Does Not Mention or Dispute Mr. Birchfield’s
                                    Repeated Testimony That Beasley Allen Does Not Have Litigation
                                    Funding. ...................................................................................................... 6

                         2.         J&J Re-Raises the Identical Rule 7.1.1 Arguments and Cites the Same
                                    Cases to this Court That the Special Master Reviewed and Rejected. ....... 7

              C.         On the Merits, the Subpoena Should Be Quashed Because It Seeks Irrelevant,
                         Privileged Material.................................................................................................. 8

                         1.         The Subpoena seeks irrelevant information including Beasley Allen’s
                                    non-existent documents and communications concerning Third-Party
                                    Litigation Funding. (Requests Nos. 1-5)..................................................... 8

                         2.         J&J’s Subpoena to its Litigation Opponents’ Counsel Seeks Privileged
                                    and Confidential Documents and Communications Concerning Client
                                    Settlement (Request No. 6). ...................................................................... 12

    CONCLUSION ............................................................................................................................. 14




                                                                           i
Case 3:16-md-02738-MAS-RLS Document 33061 Filed 08/05/24 Page 3 of 20 PageID: 226594




                                                   TABLE OF AUTHORITIES

                                                                                                                                  Page(s)

    Cases

    Benitez v. Lopez,
       2019 WL 1578167 (E.D.N.Y. March 14, 2019) ........................................................................8

    In re Cendant Corp. Secs. Litig.,
        343 F.3d 658 (3d Cir. 2003).....................................................................................................14

    Costantino v. City of Atl. City,
       2015 WL 12806490 (D.N.J. Nov. 4, 2015) ...............................................................................6

    DIRECTV, Inc. v. Richards,
       2005 WL 1514187 (D.N.J. June 27, 2005) ..............................................................................12

    Glenmede Tr. Co. v. Thompson,
       56 F.3d 476 (3d Cir. 1995).........................................................................................................6

    Hinsinger v. Conifer Ins. Co.,
       2024 WL 866529 (D.N.J. Feb. 29, 2024) ................................................................................13

    In re: LTL Management, LLC, Debtor Ad Hoc Comm. of Supporting Couns.,
        Appellant in No. 23-2972,
        2024 WL 3540467 (3d Cir. July 25, 2024) ............................................................................1, 6

    In re LTL Mgmt., LLC,
        64 F.4th 84 (3d Cir. 2023) .........................................................................................................1

    Memory Bowl v. N. Pointe Ins. Co.,
      280 F.R.D. 181 (D.N.J. 2012) ..................................................................................................14

    Nimitz Technologies LLC v. CNET Media, Inc.,
       2022 WL 17338396, Civ. 21-1247-CFC (D. Del. Nov. 30, 2022) ............................................9

    O’Boyle v. Borough of Longport,
       218 N.J. 168 (2014) .................................................................................................................14

    Times of Trenton Pub. Corp. v. Pub. Util. Serv. Corp.,
       2005 WL 1038956 (D.N.J. May 3, 2005) ..........................................................................13, 14

    Topolewski v. Quorum Health Res., LLC,
       2013 WL 99843 (M.D. Tenn. Jan. 8, 2013) .............................................................................12

    United States v. Nobles,
       422 U.S. 225 (1975) .................................................................................................................14



                                                                        ii
Case 3:16-md-02738-MAS-RLS Document 33061 Filed 08/05/24 Page 4 of 20 PageID: 226595




    In re Valarsatan,
        405 F. Supp. 3d 612 (D.N.J. 2019) ..............................................................................4, 8, 9, 12

    Statutes

    11 U.S.C. § 1125(b) .........................................................................................................................9

    11 U.S.C. § 1125(e) .........................................................................................................................9

    11 U.S.C. § 1125(g) .........................................................................................................................9

    Other Authorities

    Fed. R. Civ. P. 26 .....................................................................................................................5, 6, 7

    Fed. R. Civ. P. 26(c) ........................................................................................................................6

    Fed. R. Civ. P. 45(d)(3)(A) ..............................................................................................................6

    Fed. R. Civ. P. 53(f) .........................................................................................................................6

    Local R. 7.1.1 ......................................................................................................................... passim

    Model Rules of Prof'l Conduct R. 4.2 ......................................................................................10, 11

    Model Rules of Prof'l Conduct R. 4.2, cmt. 3 ................................................................................11

    MOORE’S FEDERAL PRACTICE 3D § 45.05(1)(C)(2) .............................................................12




                                                                          iii
Case 3:16-md-02738-MAS-RLS Document 33061 Filed 08/05/24 Page 5 of 20 PageID: 226596




                                   PRELIMINARY STATEMENT

           This Court should affirm Special Master Joel Schneider’s (the Special Master) Order and

    Opinion quashing Johnson & Johnson and LLT Management, LLC’s (together J&J) subpoena (the

    Subpoena) directed to its adversary Beasley Allen. See ECF No. 32926. The Special Master parsed

    the record painstakingly and saw J&J’s Subpoena for what it is—further retaliation against Mr.

    Andy D. Birchfield Jr., Esq., Beasley Allen, and their J&J talc victim clients. J&J served the

    Subpoena because—in its own words—Beasley Allen opposed J&J’s bad faith bankruptcy filing

    “all the way to the Third Circuit and managed to defeat the bankruptcy plan.” The Third Circuit

    has now dismissed J&J’s bad faith bankruptcy petition twice. See In Re: LTL Mgmt. LLC, Debtor

    LTL Mgmt. LLC, Appellant in No. 23-2971 In re: LTL Management, LLC, Debtor Ad Hoc Comm.

    of Supporting Couns., Appellant in No. 23-2972, 2024 WL 3540467, at *1 (3d Cir. July 25, 2024)

    (affirming the dismissal of J&J second bankruptcy for lack of “financial distress”); In re LTL

    Mgmt., LLC, 64 F.4th 84 (3d Cir. 2023) (ordering dismissal of J&J’s first bad-faith bankruptcy).

    The Superior Court of New Jersey recently denied J&J’s baseless motion to disqualify Beasley

    Allen from the state MCL talcum powder litigation. J&J refuses to withdraw the entire Subpoena—

    even after J&J itself adduced an affidavit affirming Mr. Birchfield’s repeated sworn testimony that

    Beasley Allen does not have any talc-related litigation funding. J&J has only mischief in mind, not

    “good cause” to further pursue the Subpoena.

           The Special Master held a probing argument on J&J’s Motion to Quash. The Special

    Master provided J&J every opportunity to articulate the alleged basis of its subpoena. After

    patiently listening and probing J&J’s counsel, the Special Master rejected all of J&J’s theories

    because it did not have any basis in fact or law to obtain Beasley Allen’s privileged documents.

    The Special Master gave J&J every opportunity to make its case, but it failed to make the sale.

    There is no basis to disturb the Special Master’s carefully crafted Order and Opinion or reverse


                                                    1
Case 3:16-md-02738-MAS-RLS Document 33061 Filed 08/05/24 Page 6 of 20 PageID: 226597




    any of his findings. In sum, the Subpoena must be quashed because it seeks wholly irrelevant and

    privileged documents from its litigation adversary, including: (1) non-existent third-party litigation

    funding; and (2) privileged settlement communications and work product exchanged between

    Beasley Allen and its clients.

                        RELEVANT FACTS AND PROCEDURAL HISTORY

            A.      J&J Weaponizes the Court System to Attack and Smear Its Successful
                    Litigation Opponent Beasley Allen.

            J&J set its sights—once again—on Beasley Allen and Mr. Birchfield after its second

    bankruptcy attempt was dismissed for lack of good faith. Beasley Allen opposed both J&J’s initial

    bankruptcy (which the Third Circuit dismissed as a bad faith petition) and J&J’s second attempt

    (which was dismissed months later by the bankruptcy court). Beasley Allen opposed both

    bankruptcy petitions because the plans did not offer fair and reasonable compensation to cancer

    victims and attempted to strip plaintiffs of their Seventh Amendment right to a jury trial. Beasley

    Allen’s goal all along has been to obtain the best and fairest recovery for its clients. J&J now

    threatens cancer victims with the prospect of a third bad faith “pre-packaged” bankruptcy petition

    to be filed in Texas that would “cram down” an undervalued settlement and divest this Court of its

    jurisdiction.

            In December 2023, J&J filed a motion to disqualify Beasley Allen and Andy D. Birchfield,

    Jr., Esq. from this litigation and remove Beasley Allen from the Plaintiffs’ Steering Committee.

    (ECF No. 28760). Beasley Allen opposed the motion. (ECF No. 28826). During the pendency of

    the motion to disqualify, J&J tried to obtain Beasley Allen’s privileged communications with

    court-appointed mediators and claims administration company KCIC, LLC. (ECF No. 28912). J&J

    sought mediation-protected documents and communications between or among Beasley Allen,

    KCIC, LLC, and the court appointed mediators—the same mediation that J&J refused to take part


                                                      2
Case 3:16-md-02738-MAS-RLS Document 33061 Filed 08/05/24 Page 7 of 20 PageID: 226598




    in. (ECF No. 29999). Plaintiffs sought a protective order, and the Court-appointed Special Master

    Joel Schneider, U.S.M.J. (ret.) granted the motion finding that the mediation privilege covered

    many of the documents J&J sought. (Id.)

           On May 17, 2024, J&J filed a “Notice of Intent to Serve Subpoena” to Beasley Allen. (ECF

    No. 32201). The Subpoena sought irrelevant, overly burdensome, and privileged documents

    including: (1) non-existent third-party litigation funding; (2) purported communications

    exchanged between Beasley Allen and the press; and (3) privileged settlement communications

    between Beasley Allen and its clients. That same day, J&J sought entry of an order expediting a

    response to the Subpoena. 1

           By letter dated May 20, 2024, J&J notified the Court that it was withdrawing its subpoena

    to Fortress Investment Group LLC (ECF No. 32213). The May 20, 2024 letter also leveled baseless

    allegations against Beasley Allen concerning purported undisclosed litigation funding and various

    alleged financial arrangements. (Id.). J&J’s letter included a declaration from David Meisels (the

    Meisels Declaration), Head of Litigation for Fortress. (Id. at Exh. A). The Meisels Declaration

    confirmed that “Neither Fortress nor any Fortress managed fund has provided any financing to the

    Beasley Allen law firm (Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.).” Id. at ¶3.

           B.      Beasley Allen Fights Back Against J&J’s Abusive Subpoena.

           J&J served the Subpoena on May 20, 2024. In response, Beasley Allen timely served a

    written objection to J&J’s counsel and demanded that J&J withdraw the Subpoena as it seeks

    irrelevant, burdensome and privilege materials. (ECF No. 32251-1). J&J refused to withdraw the



    1
      J&J also served notices of intent to serve subpoenas on other non-parties, including: (1) Ellington
    Management (ECF No. 32215), (2) Thomson Reuters Corporation (ECF No. 32204), (3) Fortress
    Investment Group, LLC (ECF No. 32203), and The Smith Law Firm (ECF No. 32226). J&J
    retracted the subpoenas to Fortress and Thomson Reuters. The Special Master quashed the
    subpoenas directed to Ellington Management and The Smith Law Firm. (ECF No. 32926).

                                                     3
Case 3:16-md-02738-MAS-RLS Document 33061 Filed 08/05/24 Page 8 of 20 PageID: 226599




    Subpoena even after J&J obtained an affidavit from Fortress affirming the sworn testimony of

    Birchfield that Beasley had no talc litigation funding. On May 22, 2024, the Court denied J&J’s

    request for an expedited response. (ECF No. 32249). Beasley Allen filed and served a timely

    written objection to the Subpoena on May 20, 2024. (ECF No. 32251). In the objection letter,

    Beasley Allen argued that “litigation funding (if it existed) is not relevant and therefore not

    discoverable here.” Id. at 13 (citing In re Valarsatan, 405 F. Supp. 3d 612, 615-20 (D.N.J. 2019)).

           C.      The Special Master Quashes the Abusive Subpoena.

           On July 1, 2024, the Special Master heard oral argument on the pending motions. Pollock

    Decl., Exh. K. During this argument, the Special Master probed every argument raised by J&J in

    support of its subpoena upon an adversary. J&J conceded that its “concern” about litigation

    funding has existed for a long time, but it served the Subpoena recently. Id. at 13 to 14. The Special

    Master noted that Mr. Birchfield testified multiple times that Beasley Allen does not have litigation

    funding and therefore, does not have anything to disclose under Rule 7.1.1. Id. at 14 to 18. The

    Special Master also pointed out that J&J had multiple opportunities to cross-examine Mr.

    Birchfield on these issues, including “indirect” litigation funding, but it chose not to. Id. J&J

    conceded that it could not cite a single case permitting an adversary to obtain privileged attorney-

    client settlement communications under the guise of “indirect” litigation funding. Id. at 43.

    Plaintiffs pointed out that the Subpoena is the latest example of J&J using legal process to attack

    its litigation adversaries simply because they will not agree to an unfavorable settlement for their

    clients, and Beasley Allen (specifically Mr. Birchfield) successfully argued that J&J filed for

    bankruptcy in bad faith. Id. at 56 to 66.




                                                      4
Case 3:16-md-02738-MAS-RLS Document 33061 Filed 08/05/24 Page 9 of 20 PageID: 226600




            The Special Master issued an order and opinion dated July 9, 2024. (ECF No. 32926). 2 At

    the outset, the Special Master noted that J&J may not “roam at leisure through their adversary’s

    files regarding all matters that are of interest to them.” Id. at 1. The Special Master

    comprehensively reviewed all issues presented (including those raised by J&J), and he concluded

    that the Subpoena does not “request information regarding a party’s claim or defense. Indeed, the

    requests have nothing to do with the core of the case which is whether defendants’ talc products

    contained asbestos and if the products caused plaintiffs’ cancer.” Id. at 7. J&J did not “try and hide

    this” fact. Id.

            Contrary to J&J’s claims, the Special Master also analyzed the Subpoena in the context of

    Local Rule 7.1.1, which requires lawyers to disclose “certain” details about third-party litigation

    funding. Id. at 8. The Special Master rejected J&J’s 7.1.1.arguments for three reasons. Id. First,

    J&J’s attack on litigation funding generally—which continue in this motion—“is irrelevant to the

    issues at hand” because J&J’s “distaste” for litigation funding does not support the Subpoena. Id.

    Second, J&J’s brief (and its brief now) cites decisions from other jurisdictions. Id. Third, the

    Special Master rejected J&J’s argument that litigation funding is relevant to other cases. Id. at 9.

            The Special Master confirmed that J&J had no basis to refute or question Mr. Birchfield’s

    repeated testimony that Beasley Allen does not have litigation funding. Id. at 10. J&J’s “sketchy”

    allegations based entirely on “speculation and conjecture” were insufficient under Rule 7.1.1’s

    “good cause” standard and Rule 26’s relevance standard to compel discovery. Id. at 10 to 16. The




    2
     By order and opinion dated July 19, 2024, the Honorable John C. Porto, P.J. Civ., presiding judge
    of the civil division in Atlantic County, New Jersey, denied J&J’s baseless motion to disqualify
    Beasley Allen from the state talcum powder consolidated mass tort litigation. See Pollock Decl.,
    Exh. L. The motion to disqualify filed in this Court remains pending before Judge Singh. However,
    Judge Singh ordered that the parties—by August 5, 2024—show cause “why this Court should not
    adopt the State MCL’s findings of fact and conclusions of law.” See ECF Nos. 32984; 33049.

                                                      5
Case 3:16-md-02738-MAS-RLS Document 33061 Filed 08/05/24 Page 10 of 20 PageID:
                                 226601



 Special Master carefully considered every argument now before the Court. Id. Undeterred, J&J

 now seeks an order vacating the Special Master’s Order Quashing and/or Issuing a Protective

 Order over the Subpoena. (ECF No. 32987). On July 25, 2024, the Third Circuit affirmed the

 dismissal of J&J’s second bankruptcy filing for want of good faith because it was not in “financial

 distress.” In Re: LTL Mgmt. LLC, 2024 WL 3540467, at *1.

                                            ARGUMENT

           J&J’S SUBPOENA DIRECTED TO NON-PARTY BEASLEY ALLEN (ITS
             LITIGATION ADVERSARY IN THIS CASE) MUST BE QUASHED.

          A.      Legal Standard.3

          Courts must quash or modify a subpoena that requires “disclosure of privileged or other

 protected matter, if no exception or waiver applies,” or “subjects a person to undue burden.” Fed.

 R. Civ. P. 45(d)(3)(A). Alternatively, Fed. R. Civ. P. 26 permits the Court, for good cause, to issue

 a protective order to prevent “a party or person from annoyance, embarrassment, oppression, or

 undue burden or expense.” Fed. R. Civ. P. 26(c). “‘Good cause’ is established when it is

 specifically demonstrated that disclosure will cause a clearly defined and serious injury.”

 Glenmede Tr. Co. v. Thompson, 56 F.3d 476, 483 (3d Cir. 1995); see Costantino v. City of Atl.

 City, 2015 WL 12806490, at *3 (D.N.J. Nov. 4, 2015) (good cause requirement satisfied where

 third-party subpoena sought irrelevant documents).

          B.      The Special Master’s Order and Opinion Correctly Applied the Law to the
                  Facts and Should Be Affirmed.

                  1.     J&J’s Objection Does Not Mention or Dispute Mr. Birchfield’s
                         Repeated Testimony That Beasley Allen Does Not Have Litigation
                         Funding.

          The Special Master’s Order should be affirmed because he weighed the evidence and



 3
     The Court reviews a Special Master’s order and opinion de novo. See Fed. R. Civ. P. 53(f).

                                                   6
Case 3:16-md-02738-MAS-RLS Document 33061 Filed 08/05/24 Page 11 of 20 PageID:
                                 226602



 applied controlling case law to the facts before him. J&J’s brief reprises the identical arguments it

 made below, which the Special Master rejected. Notably, J&J does not once mention that Mr.

 Birchfield testified multiple times that Beasley Allen does not have litigation funding, and

 therefore, there is nothing for Beasley Allen to disclose. Compare ECF No. 32987-1 (J&J Brief

 failing to mention, refute, or dispute Mr. Birchfield’s testimony), with ECF No. 32445 (Beasley

 Allen Motion to Quash); ECF No. 32926 (Special Master opinion discussing testimony); ECF No.

 32858 (Beasley Allen reply noting same). As the Special Master held, J&J’s naked curiosity of

 Beasley Allen’s inner workings and successful advocacy is not a basis to serve a subpoena and

 obtain privileged documents from a litigation adversary.

                 2.     J&J Re-Raises the Identical Rule 7.1.1 Arguments and Cites the Same
                        Cases to this Court That the Special Master Reviewed and Rejected.

          The Special Master properly rejected J&J’s 7.1.1 arguments, including the fact that any

 “partnership” between Beasley Allen and the Smith Law Firm is not competent evidence that

 “good cause” exists for litigation funding discovery, i.e., that any third-party funding impacts

 Beasley Allen’s settlement position. Compare ECF No. 32926 at 11, with ECF No. 32987-1 at 17-

 27. Aside from Mr. Birchfield’s repeated testimony denying the existence of any litigation funding,

 the Special Master properly quashed the Subpoena because the fact that J&J does not like Beasley

 Allen’s settlement position, its successful advocacy, or its rejection of J&J’s unreasonable

 settlement offers is not “good cause” to obtain irrelevant, privileged discovery under Rule 26 or

 Rule 7.1.1. ECF No. 32926 at 11-12. After all J&J’s complaints and musings, there is not a shred

 of evidence that any “undisclosed financial interests are actually driving [Beasley Allen’s]

 decisions relating to the resolution of the talc litigation” to constitute “good cause” under Rule

 7.1.1. Id. at 12 (quoting J&J Br. at 20).4 For these reasons, the Court should affirm the Special


 4
     J&J continues to make much of a May 2024 email from a Beasley Allen client to Mr. Murdica.

                                                  7
Case 3:16-md-02738-MAS-RLS Document 33061 Filed 08/05/24 Page 12 of 20 PageID:
                                 226603



 Master’s order quashing the Subpoena.

           C.     On the Merits, the Subpoena Should Be Quashed Because It Seeks Irrelevant,
                  Privileged Material.

           Quashing the Subpoena was appropriate because it seeks irrelevant, privileged information

     that exceeds the permissible scope of discovery.

                  1.      The Subpoena seeks irrelevant information including Beasley Allen’s
                          non-existent documents and communications concerning Third-Party
                          Litigation Funding. (Requests Nos. 1-5). 5

           The Subpoena must be quashed because it seeks irrelevant information, including non-

 existent documents and communications concerning litigation funding. Discovery “directed to a

 plaintiff’s litigation funding is irrelevant.” In re Valsartan N-Nitrosodimethylamine (NDMA)

 Contamination Prods. Liab. Litig., 405 F. Supp. 3d 612, 615 (D.N.J. 2019) (collecting cases

 finding litigation funding irrelevant). See also Benitez v. Lopez, 2019 WL 1578167, at *1

 (E.D.N.Y. March 14, 2019) (“As to the litigation funding documents, Defendants fail to establish

 that such discovery is ‘relevant to any party’s claims or defense.’”) (emphasis added)).

           The Subpoena should be quashed because Beasley Allen has complied with Local Rule

 7.1.1., and J&J fails to articulate any “good cause” or “something untoward” to justify enforcing

 the Subpoena and seeking third-party litigation funding documents. Local Civil Rule 7.1.1.

 requires a party to disclose thirty-party litigation funders. The Rule also permits parties to “seek

 additional discovery of the terms of any such agreement upon a showing of good cause that the




 As discussed herein, Mr. Murdica acted unethically by continuing to communicate with (and solicit
 a response) with an individual that J&J knew was one of Beasley Allen’s 11,000 clients. As the
 Special Master found, J&J’s “unfounded suspicion” of misconduct is false and “not supported by
 persuasive evidence” or any “objective evidence.” ECF No. 32926 at 13.
 5
  In a letter to the Special Master dated June 21, 2024, J&J agreed to “forego Requests 7-8.” See
 ECF No. 32845.

                                                   8
Case 3:16-md-02738-MAS-RLS Document 33061 Filed 08/05/24 Page 13 of 20 PageID:
                                 226604



 non-party has authority to make material litigation decisions or settlement decisions.” (emphasis

 added). J&J does not make any cogent argument about how any litigation funding—even if it

 existed—has any relevance to the claims and defenses in the MDL. In re Valsartan, 405 F. Supp.

 3d at 615. 6

         J&J’s objection brief re-hashes its general “issues” with litigation funding in other

 jurisdictions (and generally), but it never articulates any supported basis to pursue litigation

 funding discovery against Beasley Allen—its years-long litigation adversary. J&J cannot re-write

 Local Rule 7.1.1., which was crafted to balance the Court’s right to know whether a plaintiff is

 being unreasonable because a non-party with financial strength exerts harmful influence on clients,

 against a plaintiff’s right to protect work product and strategic alliances. Id. There is no factual

 basis—let alone “good cause”—that any third-party “has the authority to make material litigation

 decisions or settlement decisions” or that “the interests of parties or the class” are “not being

 promoted or protected” to necessitate disclosure in this MDL. See Rule 7.1.1. The Subpoena

 should be quashed because J&J continues to flout ethical rules and norms for its own craven

 benefit, while using this Motion as a baseless way to undermine Beasley Allen’s credibility. 7


 6
   As the Special Master noted, J&J’s continued reliance on out of jurisdiction cases, including
 Nimitz Technologies LLC v. CNET Media, Inc., is unpersuasive and not controlling. In Nimitz, a
 party plainly failed to file necessary disclosures, violated the Rules of Professional Conduct, failed
 to comply with court orders, and engaged in a fraudulent conveyance related to a patent. 2022 WL
 17338396. There is no evidence that Beasley Allen engaged in any conduct like Nimitz. Compare
 ECF No. 32926 at 14, with ECF No. 32987-1 at 28-30.
 7
   J&J continues to falsely accuse Beasley Allen of violating the solicitation provisions of the
 Bankruptcy Code. Beasley Allen is unaware of any new bankruptcy filing by J&J or any LTL
 entity. Therefore, 11 U.S.C. § 1125(e)’s solicitation provisions do not apply. 11 U.S.C. § 1125(b)
 states that “an acceptance or rejection of a plan may not be solicited after the commencement of
 the case under this title from a holder of a claim or interest with respect to such claim or interest,
 unless, at the time of or before such solicitation, there is transmitted to such holder the plan or a
 summary of the plan, and a written disclosure statement approved, after notice and a hearing, by
 the court as containing adequate information.” (emphasis added). In contrast, 11 U.S.C. § 1125(g)
 states “Notwithstanding subsection (b), an acceptance or rejection of the plan may be solicited

                                                   9
Case 3:16-md-02738-MAS-RLS Document 33061 Filed 08/05/24 Page 14 of 20 PageID:
                                 226605



        J&J and its counsel violated RPC 4.2 in its zeal to “get” Beasley Allen at all costs. RPC

 4.2 states that “A lawyer shall not communicate about the subject matter of the representation with

 a person the lawyer knows, or by the exercise of reasonable diligence should know, to be

 represented by counsel . . .”

        It is J&J—not Beasley Allen—that acted unethically concerning Beasley Allen’s clients.

 The following timeline shows what actually transpired:

        1. May 14, 2024 at 11:43 a.m.- Beasley Allen client DD sent an email to Beasley Allen
           and Mr. Murdica, counsel for J&J. (Pollock Decl. Exh. E, at (BA_0037)).

        2. May 14, 2024 at 12:54 p.m.- Beasley Allen’s Elizabeth Achtemeier, Esq. advised Mr.
           Murdica to “please disregard the below [DD’s email] attorney-client communication.”
           (Id. at BA_0038).

        3. May 14, 2024 at 5:54 p.m.- J&J’s outside counsel, Mr. Murdica, directly contacted a
           known Beasley Allen client (DD) in violation of RPC 4.2 and then solicited a response
           from DD. Mr. Murdica also “added back the original recipients,” including DD. (Id. at
           BA_0039). In that email, Mr. Murdica, writing to DD, accused Beasley Allen of
           “seeking to enter into a surreptitious relationship to thwart a bankruptcy resolution . . .
           by publishing misleading and deceptive advertising,” and suggesting that Beasley
           Allen was engaged in fraud. Id. Mr. Murdica concluded his email by calling for a
           response from the Beasley Allen client, asking DD to “confirm that they are in a
           privileged attorney-client relationship with Beasley Allen.” Id.

        4. May 15, 2024 at 8:57 a.m.- Beasley Allen’s Elizabeth Achtemeier, Esq. again directly
           advised Mr. Murdica (J&J) that DD “is represented in this matter by Beasley Allen. As
           you know, it is not permissible for you to communicate directly with a represented
           individual.” (Id. at BA_0041).

 The facts regarding Mr. Murdica are clear—he knowingly violated RPC 4.2 because he was told

 at 12:54 PM that this was a Beasley Allen Client, and yet at 5:54 PM he communicated directly

 with her regarding the substance of Beasley Allen’s representation of that client. J&J and its




 from a holder of a claim or interest if such solicitation complies with applicable nonbankruptcy
 law and if such holder was solicited before the commencement of the case in a manner complying
 with applicable nonbankruptcy law.” (emphasis added). Here, there is no applicable
 nonbankruptcy law that prohibits counseling a no vote on a plan that has not yet been filed.

                                                 10
Case 3:16-md-02738-MAS-RLS Document 33061 Filed 08/05/24 Page 15 of 20 PageID:
                                 226606



 counsel violated RPC 4.2 by continuing to communicate directly with a Beasley Allen client after

 Beasley Allen put J&J on notice. See ABA RPC 4.2, cmt. 3 (noting that rule “applies even though

 the represented person initiates or consents to the communication. A lawyer must immediately

 terminate communication with a person if, after commencing communication, the lawyer learns

 that the person is one with whom communication is not permitted by this rule.”). 8

        Moreover, the Subpoena should be quashed because it is unclear what J&J seeks from

 Beasley Allen that is relevant or non-privileged. J&J’s subpoena includes eight requests (now six),

 none of which survive legal scrutiny, factual reality, or J&J’s unilateral reversals. First, Requests

 1 through 5—which seek documents and communications concerning Fortress or any

 person/litigation funder—are now moot. J&J withdrew its subpoena to Fortress because Fortress

 confirmed months ago it has not provided Beasley Allen with litigation funding. See ECF No.

 32213, at 4 (Mr. Meisels states that he has no knowledge of any litigation funding by Beasley

 Allen). Request Nos. 1-3—which are relevant to Fortress—are moot.

        Second, Mr. Birchfield’s unrefuted testimony confirmed that Beasley Allen does not have

 any litigation funding for this case, and J&J does not provide any basis to challenge that testimony.

 See Motion to Disqualify (ECF No. 32153) at 60 to 62; Pollock Decl., Exh. C at 47:23 to 48:4

 (“there was the allegation made that Beasley Allen is so heavily indebted that we could not accept

 the proposal, and that is–that is categorically false. We have not. We have not obtained litigation

 financing or funding for our talc claims.”). The documents sought in RFPs Nos. 1-5 (even if

 they existed) are irrelevant. “The fact that defendants have raised no nonspeculative basis for their



 8
   Mr. Murdica obviously looked up information about DD because he was aware that she suffers
 from clear cell ovarian cancer, something DD did not reveal in her emails. Mr. Murdica had actual
 notice that Beasley Allen represented DD but continued to communicate with her anyway. See
 Pollock Decl., Exh. A (Beasley Allen’s 2020 notice of appearance as DD’s counsel of record).

                                                  11
Case 3:16-md-02738-MAS-RLS Document 33061 Filed 08/05/24 Page 16 of 20 PageID:
                                 226607



 discovery request” should result in quashing the Subpoena. See In re Valsartan, 405 F. Supp. 3d

 at 619 (citing cases and noting that “[s]peculation does not justify discovery.”). 9

        Third, J&J’s about face regarding the Subpoena’s scope—including also withdrawing its

 request for documents and communications with third parties like Thomson Reuters—confirms

 that the Subpoena was always a vehicle to harass Beasley Allen (opposing counsel) rather than a

 serious discovery demand. DIRECTV, Inc. v. Richards, 2005 WL 1514187, at *2 (D.N.J. June 27,

 2005) (A subpoena is considered unduly burdensome when it “is unreasonable or oppressive.”);

 Topolewski v. Quorum Health Res., LLC, 2013 WL 99843, at *4 (M.D. Tenn. Jan. 8, 2013)

 (quoting MOORE’S FEDERAL PRACTICE 3D § 45.05[1][c][2], p. 45–36) (“obtaining discovery or

 testimony from opposing counsel undermines the adversarial system and increases the time and

 cost of litigation, because questions of attorney-client privilege and work product protections are

 practically unavoidable when counsel becomes a witness.”). 10 Even if Beasley Allen had

 documents responsive to Requests 1-6, J&J’s retraction and precedent end the matter. 11

                2.      J&J’s Subpoena to its Litigation Opponents’ Counsel Seeks Privileged
                        and Confidential Documents and Communications Concerning Client
                        Settlement (Request No. 6).

        The Subpoena must be quashed because Request No. 6 seeks Beasley Allen’s attorney-



 9
   There is similarly no basis to order an in-camera review because J&J cannot satisfy any the
 factors warranting same. See In re Valsartan, 405 F. Supp. 3d at 619, n.8 (discussing
 considerations not applicable here).
 10
   J&J withdrew its subpoena to Thomson Reuters and is now “willing to exclude communications
 with Thomson Reuters and other media organizations from the scope” of the subpoenas. See ECF
 No. 32845 (J&J agreeing “to limit the scope of Requests 1-6 to exclude communications to
 journalists”).
 11
    The Subpoena should also be quashed because it seeks documents and communications not
 proportional to the needs of the MDL. See In re Valsartan, 405 F. Supp. 3d at 615-19 (denying
 request for litigation funding discovery because unsupported request in MDL was
 disproportionate).

                                                  12
Case 3:16-md-02738-MAS-RLS Document 33061 Filed 08/05/24 Page 17 of 20 PageID:
                                 226608



 client privileged communications, including “All Documents, Communications, or Agreements”

 that concern the “authority to settle or otherwise resolve” the talc litigation. ECF No. 32201 at 14.

 The “Court ‘must quash or modify a subpoena’ that, inter alia, requires disclosure of privileged or

 other protected matter, if no exception or waiver applies; or . . . subjects a person to undue

 burden.” Hinsinger v. Conifer Ins. Co., 2024 WL 866529, at *5 (D.N.J. Feb. 29, 2024).

        “The attorney-client privilege applies to communications by a client, made in confidence,

 for the purpose of seeking legal advice from an attorney who is acting in his or her capacity as an

 attorney.” Hinsinger, 2024 WL 866529, at *7 (citation omitted). See Times of Trenton Pub. Corp.

 v. Pub. Util. Serv. Corp., 2005 WL 1038956, at *6 (D.N.J. May 3, 2005) (finding documents

 relating “to legal strategy regarding a settlement offer” “protected by the attorney-client privilege

 and the work-product doctrine”).

        Request No. 6 must be quashed because it broadly seeks “All Documents,

 Communications, or Agreements” that concern “the authority to settle or otherwise resolve” the

 MDL litigation. J&J belatedly claims that “Defendants have never sought—and do not seek in

 Request 6 to Beasley Allen and Smith Law Firm—to obtain communications between Beasley

 Allen or the Smith Law Firm and their clients.” J&J Br. at 16-19; ECF No. 32845 (claiming same).

 But Request No. 6, by its plain terms, would sweep in exactly those privileged documents, i.e.,

 “All Documents, Communications or Agreements concerning the authority to settle or otherwise

 resolve the Litigation and/or claims that have or may be asserted therein.” ECF No. 32201 at 10.

 Neither Beasley Allen’s clients nor Beasley Allen waived privilege—Beasley Allen warned J&J

 that it must cease further communications with its known client—which J&J failed to heed.

 Pollock Decl., Exh. E (communications between J&J and Beasley Allen clients).




                                                  13
Case 3:16-md-02738-MAS-RLS Document 33061 Filed 08/05/24 Page 18 of 20 PageID:
                                 226609



        Similarly, the Subpoena should be quashed because Request No. 6 seeks documents

 protected by the work product doctrine, including documents and agreements exchanged with

 clients concerning settlement. The work product doctrine “is ‘distinct from and broader than the

 attorney-client privilege.’” Memory Bowl v. N. Pointe Ins. Co., 280 F.R.D. 181, 186 (D.N.J. 2012)

 (quoting United States v. Nobles, 422 U.S. 225, 238 (1975)). See Times of Trenton Pub. Corp.,

 2005 WL 1038956, at *6 (finding that work product doctrine applied to communications

 concerning settlement offers between client and attorney). Request No. 6 seeks all documents,

 communications, and agreements exchanged between Beasley Allen and its clients concerning

 settlement, i.e., Beasley Allen’s core protected settlement-related mental processes. See O’Boyle

 v. Borough of Longport, 218 N.J. 168, 189 (2014) (recognizing that the burden is on party seeking

 to invade “privacy of an attorney’s course of preparation”); In re Cendant Corp. Secs. Litig., 343

 F.3d 658, 663 (3d Cir. 2003) (“Thus, core or opinion work product receives greater protection than

 ordinary work product and is discoverable only upon a showing of rare and exceptional

 circumstances.”). J&J belatedly claims that it does not seek “privileged communications” “solely

 between Beasley Allen or the Smith Law Firm and their clients regarding legal advice.” ECF No.

 32845. But those are the only documents (if they existed) that could be produced in response to

 Request No. 6. Request No. 6—to the extent anything is left of it—must be quashed.

                                          CONCLUSION

        The Special Master’s Order and Opinion should be affirmed because the Subpoena served

 upon Beasley Allen is J&J’s latest attempt to use the civil courts and the bankruptcy code to harass

 Beasley Allen and its talc-asbestos victim clients. The Subpoena must be quashed because it seeks:

 (1) irrelevant, non-existent litigation funding; and (2) attorney-client privileged communications

 and documents concerning settlement. J&J has not established any “good cause” under Rule 7.1.1

 or case law to seek documents and communications from its litigation adversary Beasley Allen.

                                                 14
Case 3:16-md-02738-MAS-RLS Document 33061 Filed 08/05/24 Page 19 of 20 PageID:
                                 226610



 J&J must be put on notice that its repeated abuses of the federal courts—including issuing a

 subpoena to its litigation adversary (opposing counsel) cannot continue.

                                                     Respectfully submitted,

                                                     FOX ROTHSCHILD LLP

                                                     Attorneys for Andy Birchfield and Beasley
                                                     Allen

                                                     /s/ Jeffrey M. Pollock
                                                         Jeffrey M. Pollock
                                                         Michael W. Sabo

 Dated: August 5, 2024




                                                15
Case 3:16-md-02738-MAS-RLS Document 33061 Filed 08/05/24 Page 20 of 20 PageID:
                                 226611



                                CERTIFICATE OF SERVICE

        I, Jeffrey M. Pollock, Esq., hereby certify that I caused a true and correct copy of the

 foregoing Brief in Opposition to J&J’s Motion Objecting to Special Master Order No. 25 and

 accompanying papers to be served upon all Counsel of Record via the Court’s CM/ECF system.

                                                           /s/ Jeffrey M. Pollock

                                                           Jeffrey M. Pollock, Esq.
                                                           Michael W. Sabo, Esq.
                                                           Attorneys for Andy Birchfield and
                                                           Beasley Allen

 Dated: August 5, 2024




                                               16
